

Khaimov v  City of New York (2021 NY Slip Op 06083)





Khaimov v  City of New York


2021 NY Slip Op 06083


Decided on November 09, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 09, 2021

Before: Renwick, J.P., Singh, Kennedy, Rodriguez, Pitt, JJ. 


Index No. 158573/19 Appeal No. 14590 Case No. 2021-02142 

[*1]Liron Khaimov, et al, Plaintiffs-Appellants,
vThe City of New York, et al., Defendants-Respondents.


Napoli Shkolnik, PLLC, New York (Craig Phemister of counsel), for appellants.
Georgia M. Pestana, Corporation Counsel, New York (Jesse A. Townsend of counsel), for respondents.



Order, Supreme Court, New York County (Dakota D. Ramseur, J.), entered on or about May 27, 2021, which denied plaintiffs' motion for summary judgment as to liability, unanimously affirmed, without costs.
The parties' conflicting versions as to how the accident occurred raise triable issues of fact regarding the fault of the parties. Plaintiffs' sole argument on appeal is that defendants failed to raise an issue of fact in opposition to their prima facie showing, because defendant driver's statements contained in the police accident report, on which the opposition was founded, were hearsay and therefore inadmissible. Plaintiff waived her hearsay objections to the driver's statements contained in the police accident report submitted by defendants by failing to object before the motion court and by relying on them in support of her own motion (see Cook v Supreme Sys., Cook v Supreme Sys., Inc., 146 AD3d 602 [1st Dept 2017]; Cruz v Skeritt, 140 AD3d 554 [1st Dept 2016]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 9, 2021








